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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                         CRIMINAL NO. 20-55
 VERSUS                                                           SECTION: “F” (4)
 JASON R. WILLIAMS                                                VIOLATION:
 NICOLE E. BURDETT                                                18 USC § 371
                                                                  26 USC § 7206 (2)
                                                                  31 USC § 5331 and 5322



                     NOTICE OF TRIAL AND PRE-TRIAL CONFERENCE
                             (Previously set for September 14, 2020)


Take Notice that this criminal case has been set for TRIAL on JANUARY 11, 2021 at 9:00 a.m.

before Judge Martin L. C. Feldman, Federal Courthouse Building, 500 Poydras Street, Courtroom

C-551, New Orleans, LA 70130. A FINAL PRE-TRIAL CONFERENCE will be held on December 21,

2020, at 1:30 p.m.

    IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING
PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL IMMEDIATELY OUTSIDE THE
AFORESAID COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.



Date: August 24, 2020                             CAROL L. MICHEL, CLERK

                                                  by: Cherie Stouder, Deputy Clerk
TO:
Jason R. Williams (Bond)
                                                  AUSA (Lafayette): Kelly Uebinger, T.A.
COUNSEL FOR DEFENDANT:                                              David J. Ayo
   William P. Gibbens
                                                  U.S. Marshal
TO:
Nicole E. Burdett (Bond)                          U.S. Probation & Pre-Trial Services Unit

COUNSEL FOR DEFENDANT:
  Michael Magner                                  INTERPRETER: None
  Avery Pardee

If you change address,
notify clerk of court
by phone, 504-589-7683
